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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

       v.                                           1:19-cr-00018-ABJ

ROGER J. STONE, JR.,

                        Defendant.
__________________________________

                                    NOTICE OF APPEAL

Appellant:            Roger J. Stone
                      1045 NE 18th Avenue, Unit 101
                      Fort Lauderdale, FL 33304

Appellant’s Attorney: Seth Ginsberg
                      Attorney at Law
                      299 Broadway, Suite 1405
                      New York, New York 10007

Offense: 18 U.S.C. § 1505; 18 U.S.C. § 1001(a)(2); 18 U.S.C. § 1512(b)(1)

Concise statement of judgment or order, giving date, and any sentence: (1) Judgment in a
Criminal Case, entered February 20, 2020, imposing sentence on Count One: 40 months
incarceration; Counts Two-Six: 12 months incarceration to run concurrent to Count One; Count
Seven: 18 months incarceration to run concurrent to Count One; 24 months supervised release;
and a fine of $20,000.00. (2) Order and Memorandum Opinion, entered April 16, 2020, denying
defendant’s amended motion for new trial [Dkt. # 313].

Name of institution where now confined, if not on bail: Defendant Remains on Bail

I, Roger Stone, hereby appeal to the United States Court of Appeals for the District of Columbia
from the above-stated judgment and order, the sentence imposed, and all underlying orders.

 Date: April 30, 2020                                                       Roger J. Stone
                                                                            APPELLANT
 FPD, No Fee ________
 CJA, No Fee _________                                                    /s/ Seth Ginsberg
 Paid USDC Fee _x______                                                   ATTORNEY
 Paid USCA Fee _______
 Does counsel wish to appear on appeal? Yes
 Has counsel ordered transcripts? Yes
 Is this appeal pursuant to the 1984 Sentencing Reform Act? Yes, in part.
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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on April 30, 2020, I electronically filed the foregoing with the

Clerk of Court using CM/ECF and thereby served it upon all parties in the action.


                                                    /s/ Seth Ginsberg
                                                    Seth Ginsberg
                                                    Attorney at Law
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                                                    New York, New York 10007
                                                    917-885-3375
                                                    srginsberg@mac.com




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